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 5                          UNITED STATES DISTRICT COURT
 6                                 DISTRICT OF NEVADA
 7                                            ***
 8   UNITED STATES OF AMERICA,                 )       2:04-CR-00074-PMP-LRL
                                               )
 9                   Plaintiff,                )
                                               )               ORDER
10   vs.                                       )
                                               )
11   DEMARCUS BURSE,                           )
                                               )
12                   Defendant.                )
                                               )
13

14             On July 29, 2011, Defendant Demarcus Burse, filed a Motion for
15   Clarification and/or Amended Judgment of Conviction (Doc. #376). On August 23,
16   2011, the Court ordered Plaintiff United States to file a response to Defendant’s
17   Motion (Doc. #377) on or before September 14, 2011. Plaintiff United States has
18   failed to comply with the Court’s Order and in accord with the Local Rules of
19   Practice of this Court, therefore consents to the granting of the relief requested by
20   Defendant Burse.
21             Additionally, having reviewed Defendant Burse’s Motion and the trancript
22   of sentencing proceedings which occurred on July 28, 2006, it appears that
23   Defendant Burse is entitled to the relief requested on the merits of his motion.
24   ///
25   ///
26   ///
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 1            IT IS THEREFORE ORDERED that Defendant Demarcus Burse’s,
 2   Motion for Clarification and/or Amended Judgment of Conviction (Doc. #376) is
 3   GRANTED.
 4            IT IS FURTHER ORDERED that the Clerk of Court shall forthwith
 5   AMEND the Judgment in this case (Doc. #289) to reflect clearly that the Sentence
 6   imposed in this case, is, was, to run concurrent with Defendant’s State Court
 7   Sentence in State of Nevada vs. Demarcus Burse, case number 05C210571.
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 9   DATED: September 16, 2011.
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                                               PHILIP M. PRO
12                                             United States District Judge
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